                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

HAMED SUFYAN OTHMAN                            )
ALMAQRAMI, et al.,                             )
on behalf of themselves and all                )
others similarly situated,                     )       No. 1:17-cv-01533-TSC
                                               )
               Plaintiffs/Petitioners,         )
v.                                             )
                                               )
ANTONY J. BLINKEN, et al.,                     )
           Defendants/Respondents.             )

                           JOINT MOTION FOR CLARIFICATION

       The parties hereby file this Joint Motion for Clarification regarding the meaning of this

Court’s September 29, 2017, preliminary injunction order.

       This case was brought by foreign nationals who were selected in the diversity visa lottery

for fiscal year 2017. Plaintiffs allege that their visa applications were not processed by the State

Department, under a State Department policy set forth in a cable, suspending the processing of

visas for individuals who were subject to the bar on entry of certain nationals from designated

countries established by Exec. Order No. 13780 (“the Executive Order”), signed by former-

President Trump on March 6, 2017. The Plaintiffs alleged, inter alia, that the State Department’s

policy was unauthorized by statute or the Executive Order, and therefore violated the

Administrative Procedure Act.

       Title 8, United States Code, Section 1154(a)(1)(I)(ii)(II) provides that a selectee of the

diversity visa lottery “shall remain eligible to receive such visa only through the end of the specific

fiscal year for which they were selected.” Thus, on August 3, 2017, Plaintiffs moved for a

preliminary injunction, noting that their suit faced “an important deadline: their immigrant visas

must be issued by the end of this fiscal year, that is, by September 30, 2017.” ECF No. 2-1, at 1.
       On September 29, 2017, the Court issued a memorandum opinion and order granting

Plaintiffs’ motion in part, and denying it in part. ECF No. 49, 50. The Court held it could not at

that time order the Government to “process and issue visas” for Plaintiffs because the Supreme

Court had stayed lower-court orders invalidating the Executive Order pending its review. ECF

No. 49, at 8, 11. However, this Court granted Plaintiffs’ alternative “request that the court order

the State Department to reserve any unused FY 2017 visa numbers for processing after the

Supreme Court issues a decision” on the Executive Order’s legality. Id. at 11. The Court ordered

Defendants “to: (1) report, by October 15, the number of visa numbers returned unused for fiscal

year 2017; and (2) hold those visa numbers to process Plaintiffs’ visa applications in the event the

Supreme Court finds the Executive Order to be unlawful.” ECF No. 50; see also ECF No. 49, at

15.

       On September 24, 2017, the Executive Order expired and was replaced by Presidential

Proclamation 9645 (“Proclamation 9645”), and thus, the Supreme Court dismissed as moot

challenges to the Executive Order referenced in this Court’s order. See Trump v. Hawaii, 138 S.

Ct. 377 (Oct. 24, 2017); Trump v. IRAP, 138 S. Ct. 353 (Oct. 10, 2017). Defendants next moved

to dismiss the present case, arguing, inter alia, it was also moot. The Court granted Defendants’

motion, stating that because challenges to the Executive Order were moot, “it necessarily follows

that challenges to a State Department[] policy promulgated pursuant to that section of the

Executive Order are moot as well.” ECF No. 65, at 11.

       On appeal, the D.C. Circuit reversed, holding that this case was not moot because it was

“not ‘implausible’ that the district court here could rely on equity to take steps to compel the

issuance of diversity visas, notwithstanding the end of FY 2017.” Almaqrami v. Pompeo, 933 F.3d

774, 781 (D.C. Cir. 2019). The court held: Plaintiffs “seek a court order instructing the government



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to stop implementing the Guidance Memo, process their visa applications, and issue them diversity

visas. Neither their claim that such relief is legally available nor their claim that they are entitled

to that relief is so implausible as to deprive the district court of jurisdiction. And there is some

chance that this relief will be effective at securing their immigration to the United States.” Id. at

780.

       Today, the challenged State Department cable is no longer in effect. Thus, the key question

is whether the Government can process Plaintiffs’ visa applications and issue diversity visas to

them, notwithstanding that fiscal year 2017 is over. In that regard, the parties would be greatly

aided by a clarification of the Court’s September 29, 2017 order.

       The Government has previously argued that this Court did not order the Defendants to

adjudicate the Plaintiffs’ diversity-visa applications prior to the expiration of fiscal year 2017; it

ordered only the reservation of unused visa numbers, which are but one prerequisite for visa

issuance. Defendants maintain that visa numbers simply ensure that the congressionally-mandated

limit on diversity visa issuances would not be exceeded, for example in the event the Supreme

Court would have ruled against the Government.            Thus, in Defendants’ view, the Court’s

injunction did not eliminate the obstacle presented by 8 U.S.C. § 1154(a)(1)(I)(ii)(II), which

provides that individuals selected for the diversity visa program “shall remain eligible to receive

such visa only through the end of the specific fiscal year for which they were selected.” The

Government has also argued that the order on September 29, 2017, directed the Government to

preserve visa numbers to ensure that not all diversity visa numbers would be used up before the

end of the fiscal year, and to process Plaintiffs’ visa applications only if the Supreme Court

invalidated the Executive Order (the Court ordered the State Department to “hold (reserved) visa

numbers to process Plaintiffs’ visa applications in the event the Supreme Court finds the Executive



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Order to be unlawful.”). ECF No. 50. The Government believes this Court’s injunction was

framed this way so as to preclude the Government from arguing that the 2017 numerical cap on

diversity visas had been reached (and that the Court lacks the authority to order issuing more FY-

2017 DV visas than the Congressionally-mandated limit).

       Subsequently, and because the Supreme Court did not invalidate the Executive Order (in

fact, the Court upheld its successor, Proclamation 9645), the Government has argued that the

condition precedent imposed by this Court to warrant resumption of processing certain diversity

visa applications from fiscal year 2017 did not materialize. The Government has argued that, as

the condition precedent expressed in the order has not been satisfied, and cannot be satisfied at this

point, there is no other authority that would allow the government to use expired visa numbers for

diversity visa cases from fiscal year 2017. Consequently, the Government has argued, because the

2017 fiscal year has expired, the government simply does not have the authority to process

Plaintiffs’ visa applications, as it is expressly prohibited from doing so under 8 U.S.C.

§ 1154(a)(1)(I)(ii)(II). Nonetheless, the State Department took all possible actions to adjudicate

the Plaintiffs’ visa applications prior to the close of fiscal year 2017, but were ultimately limited

by Proclamation 9645 at the time the fiscal year closed. And since this Court’s order, the

Government has taken steps necessary to be able to issue visas if required to do so by court order,

but believes such an order would require violating the controlling statute, which the Government

argued would exceed this Court’s authority.

       Plaintiffs, meanwhile, have argued that the Court’s September 29, 2017 order requires the

State Department to maintain the availability of visas for Plaintiffs, not merely visa numbers.

Plaintiffs view the Government’s contrary reading as at odds with the Court’s own order, which

required Defendants to “hold those visa numbers to process Plaintiffs’ visa applications” if



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needed. ECF No. 50 (emphasis added). Plaintiffs argued that the order’s text thus expressly

contemplated that Defendants must prepare to process Plaintiffs’ visas, which would require

Defendants to take all actions necessary to preserve their ability to issue Plaintiffs visas. In

Plaintiffs’ view, the Court’s injunction opinion, as well as its statements during the injunction

hearing, also made clear that the September 29, 2017, order was meant to prevent the very

irreparable harm—loss of ability to seek visas—that Defendants have argued the order allowed.1

Plaintiffs have also pointed out that the Court has since confirmed that the September 29, 2017,

order was meant to preserve the Court’s ability to order visa processing.2 Indeed, in Plaintiffs’

view, if the government were correct that the September 29, 2017 order did nothing but preserve

visa numbers with no ability to issue visas, that order would have been completely ineffectual even

if the Supreme Court had subsequently invalidated the Executive Order—something that the Court

could not have intended. Plaintiffs also argue that the order on September 29, 2017 could not have

been intended to require the preservation of visa numbers for processing only if that the Supreme

Court invalidated the Executive Order (or Proclamation 9645), because Plaintiffs’ theory of the



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  See ECF No. 49, at 13 (“[T]here is no adequate alternative remedy available to Plaintiffs. Absent
relief from this court, Plaintiffs are foreclosed from receiving visas in FY 2017 due to the
impending statutory deadline. Defendants have made clear they will not issue visas past the end
of the fiscal year or in excess of the statutory cap.”); id. at 14 (“Defendants also argue that the
court is precluded from ordering the processing of visas after the statutory deadline. However, as
discussed above, the court is permitted to grant this relief.”); ECF No. 36, at 13:11-:15 (“As I see
it, what you’re asking for is simply something – you’re asking the Court to do something that will
not – that will prevent the extinguishing of their opportunity to get the visa ….”); id. at 56:16-:17
(“Losing the opportunity to be considered for a visa is irreparable harm.”).
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  See ECF No. 65, at 8 (“If the court were to now order the State Department to use the unused
visa numbers to process Plaintiffs’ visa applications, it would be requiring the State Department
to fulfill its obligations under a prior order—the September 29 Order. Under that Order, the State
Department was required to not merely reserve the unused visa numbers, but to do so for a specific
purpose: the future processing of Plaintiffs’ visa applications.”); see Almaqrami, 933 F.3d at 782
(noting that the order could “give effect to the district court’s prior directive, entered before the
end of the selection FY, to preserve an essential (and otherwise expiring) ingredient of relief”).

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case did not depend upon the Executive Order’s illegality. Instead, Plaintiffs contended that the

State Department’s policy was unlawful even if the Executive Order and Proclamation were lawful.

Thus, Plaintiffs believe, the Court’s order can and should be read as both requiring visa processing

if the Supreme Court invalidated the Executive Order and as allowing the Court to later order visa

processing if the Court otherwise finds the challenged State Department policy illegal. This

reading, Plaintiffs argued, best fulfills the Court’s purpose in issuing the September 29, 2017

order—preventing Plaintiffs from losing their ability to have their visa applications processed—

while remaining faithful to the order’s text.

       Faced with these arguments, the D.C. Circuit held that “the September 29 Order need not

be read to limit the authority of the district court to grant additional relief to a scenario in which

the Supreme Court finds EO-2 unlawful. Rather, it is at least possible to read that Order as doing

one or both of two other things.” Id. at 781. The Court explained:

       First, the Order might simply have preserved the “status quo ... while the legality
       of [EO-2]” was pending before the Supreme Court, meaning it preserved the district
       court's ability, as of September 29, to rectify the erroneous denial of plaintiffs' visas
       based on a legally questionable Guidance Memo or erroneous interpretation of the
       INA. See P.K., 302 F. Supp. 3d at 7. Second, it may have told the government
       that if one specific eventuality arose—the Supreme Court found EO-2 unlawful—
       the State Department must process plaintiffs’ visa applications. These readings may
       be combined. That is, the Order could be read as (1) instructing the State
       Department to “hold” these unused visa numbers for the purpose of enabling a later
       judicial judgment, which might require the government “to process” plaintiffs’
       applications after any salient obstacles were removed, and (2) identifying the
       specific judgment that would issue if the Supreme Court took a certain action….

       On that reading, the September 29 Order left open whether a later judgment would
       issue and, if so, what it would look like in the event the Supreme Court took any of
       myriad other tacks—for example, holding that the President could rely on § 1182(f)
       to restrict entry but not visas, … or that the case must be dismissed as moot, which
       the district court knew was a possibility on September 29. See P.K., 302 F. Supp.
       3d at 4 n.4 (explaining that the Court had vacated oral argument in IRAP I and
       ordered the parties to brief whether the Proclamation and expiration of EO-2
       mooted that case). We need not decide the merit of these various readings; we
       merely note that they are possible constructions of the September 29 Order.

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       That means plaintiffs’ claim that further relief is legally available is not “so
       implausible” as to be “insufficient to preserve jurisdiction.” Chafin, 568 U.S. at
       174. For example, if we were to read the Order as leaving open the possibility that
       a later judgment would issue, now that IRAP I—the primary obstacle the district
       court identified to granting plaintiffs additional relief—has been dismissed as moot,
       it is not “implausible” that the district court could grant plaintiffs additional relief.
       As the district court explained, if it “were to now order the State Department to use
       the unused visa numbers to process [p]laintiffs’ visa applications, it would
       [arguably] be requiring the State Department to fulfill its obligations under” the
       September 29 Order, which instructed the State Department to “reserve the unused
       visa numbers ... for a specific purpose: the future processing of [p]laintiffs’ visa
       applications.” Almaqrami, 304 F. Supp. 3d at 6. Like in Paunescu and
       Przhebelskaya, such an order would give effect to the district court’s prior
       directive, entered before the end of the selection FY, to preserve an essential (and
       otherwise expiring) ingredient of relief. To be sure, those cases required the
       government to comply with a prior order to process applications, see Gov’t Br. 37,
       but they offer useful examples, not binding models, and neither of those courts
       limited their holdings to the precise scenario they confronted, see Almaqrami, 304
       F. Supp. 3d at 7. And this case is more similar to Paunescu and Przhebelskaya than
       the cases dismissed as moot because the plaintiff filed too late or the court did not
       act in time. All told, this is enough to suggest that plaintiffs’ argument that the
       district court could grant them additional relief, despite the end of the selection FY,
       is not so “completely devoid of merit as not to involve a federal controversy.” Steel
       Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998) (quoting Oneida Indian
       Nation of N.Y. v. County of Oneida, 414 U.S. 661, 666 (1974)).

Id. at 781-82.

       Accordingly, the parties seek the Court’s clarification regarding the order from September

29, 2017.

       The Plaintiffs believe this Court should answer three questions. First, does the order direct

the Government to preserve the ability to issue visas, or only to preserve visa numbers that, two

days after the court’s order, could no longer be used to issue visas? Second, if the court preserved

the Government’s ability to issue visas, does the order direct the Government to preserve visa

numbers to be processed only in the event that the Supreme Court invalidated the Trump

Administration’s Executive Order (a condition that did not occur), or instead does the order

“instruct[] the State Department to ‘hold’ these unused visa numbers for the purpose of enabling a



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later judicial judgment,” id. at 781, which would allow the State Department to process Plaintiffs’

visas notwithstanding the end of the 2017 fiscal year? And, if the latter, then third, does the order

direct the State Department to hold visa numbers for the entire putative class, or only for the named

Plaintiffs?

        The Government seeks the Court’s clarification regarding the relationship between the

Executive Order, Proclamation 9645, and the preliminary injunction that was ultimately issued.

To this end, the Government respectfully asks the Court to clarify whether it ordered the State

Department to hold visa numbers only in the event of the Supreme Court invalidating the Executive

Order, or did the Court intend its order to apply regardless of what happened to the Executive

Order or Proclamation 9645, and, if the latter, whether its order contemplates the possibility that

the State Department may still issue diversity visas for fiscal year 2017 despite the plain language

of 8 U.S.C. § 1154(a)(1)(I)(ii)(II).




Dated: August 5, 2021

                                                       Respectfully submitted,

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